Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 1 of 18

USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK BOC dO AERY FILED
SANG LAN, ==
DATE FILED: 2/25/17
Plaintiff,
-against- 11 Civ. 2870 (AT)

TIME WARNER, INC., KAO-SUNG LIU A/K/A K.S.
LIU, GINA HIU-HUNG LIU A/K/A HUI-HUNG SIE ORDER
A/K/A GINA LIU, Individually and as Trustees or
Managers of Goodwill for Sang Lan Fund, HUGH HU
MO, JOHN AND JANE DOES 1-30, Unknown
Defendants, Jointly and Severally,

Defendants.
ANALISA TORRES, District Judge:

In this action, Plaintiff, Sang Lan, alleges various claims against defendant Time Warner,
Inc. (“Time Warner”) and defendants Kao-Sung Liu, Gina Hiu-Hung Liu (together, the “Lius”),
and Hugh Hu Mo (“Mo,” and collectively with the Lius, the “Individual Defendants”). Time
Warner and the Individual Defendants separately move to dismiss the Fourth Amended
Complaint (“4th Am. Compl.”), pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure.

On April 19, 2013, Magistrate Judge James C. Francis, IV issued a report and
recommendation (the “R&R”), which recommends (1) granting Time Warner’s motion, and (2)
granting in part and denying in part the Individual Defendants’ motion as follows:

the Individual Defendants’ motion to dismiss [should] be granted with
respect to Count Five (Accounting as to Other Property); Count Six
(Unjust Enrichment) to the extent that it pertains to the “Other Property”;
Count Seven (Conversion) to the extent that it pertains to insurance
proceeds; Count Eight (Breach of Fiduciary Duty against the Lius); Count
Nine (Breach of Fiduciary Duty against Mr. Mo); Count Ten (Defamation)
to the extent that it pertains to the statements set out in the Fourth
Amended Complaint, { 185(c)&(d), and the document (and its translation)
attached to the Fourth Amended Complaint as part of Exh. M (the
translation begins, “Sang Lan got injured and paralysis at Goodwill Games
held in New York in 1998”); and Count Twelve (Cyberharassment). The

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 2 of 18

motion should be denied in all other respects.

Id, at 65, ECF No. 140.

Having reviewed Plaintiffs objections, the recommended dismissal of all claims against
Time Warner is affirmed. As to the Individual Defendants, the recommendations are affirmed in
part and denied in part.

BACKGROUND

The Court assumes that the parties are familiar with the facts and procedural history of
this case, as set forth in the R&R. ECF No. 140. The Goodwill for Sang Lan Fund, to which the
Lius served as trustees and managers and to which Mo and his law firm provided legal and
professional assistance, is referred to as the “Fund.” See id. at 4-5.

DISCUSSION

I. Legal Standard

A. Standard of Review
A district court reviewing a magistrate judge's report and recommendation “may accept,
reject, or modify [it] in whole or in part.” 28 U.S.C. § 636(b)(1)(C). The court reviews de novo
any portions of a report and recommendation to which a party has objected; all else is reviewed
for clear error. Gary Friedrich Enters., LLC v. Marvel Enters., 713 F. Supp. 2d 215, 219
(S.D.N.Y. 2010).
B. Pleading Standard
To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must plead sufficient factual

cee

allegations in the complaint that, accepted as true, ““‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

USS. 544, 570 (2007)). A plaintiff is not required to provide “detailed factual allegations” in the

2

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 3 of 18

complaint, but must assert “more than labels and conclusions[] and a formulaic recitation of the
elements of a cause of action.” Twombly, 550 U.S. at 555. In addition, the facts pleaded in the
complaint “must be enough to raise a right to relief above the speculative level.” Jd; see also
Fed. R. Civ. P. 8(a)(2). On a 12(b)(6) motion, a district court may consider only the complaint,
documents attached to the complaint, matters of which a court can take judicial notice,
documents possessed by plaintiffs, or documents that plaintiffs knew about and relied upon. See
Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002). A district court considering a
Rule 12(b)(6) motion must accept all factual allegations in the complaint as true, while also
drawing all reasonable inferences in favor of the nonmoving party. ATSI Commce’ns, Inc., 493
F.3d 87, 98 (2d Cir. 2007).

Il. Claims Against Time Warner

A. Breach of Contract

The Court agrees with Judge Francis that Plaintiff has failed to state a claim for breach of
contract against Time Warner. R&R 10-13, ECF 140. Under New York law, “before the power
of law can be invoked to enforce a promise, it must be sufficiently certain and specific so that
what was promised can be ascertained.” Joseph Martin, Jr., Delicatessen, Inc. v. Schumacher,
52.N.Y.2d 105, 109 (1981); Sardis v. Frankel, 113 A.D.3d 135, 146 (N.Y. App. Div. 2014)
(“[T]he requirement of definiteness [is] necessary both to permit a proper remedy to be fashioned
upon breach and . . . to ensure that a contractual obligation is not implied where the parties have
not intended to be conclusively bound.”) (citations omitted). Here, the complaint identifies
several statements made “through the media and in press releases” in which Time Warner
officials made general promises that “Sang Lan’s future is secured” and that her family “won’t

have to worry about digging into their pockets to help their daughter in any way.” 4th Am.

3

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 4 of 18

Compl. fff 85-88, ECF No. 119. Beyond this, the complaint fails to allege any more certain and
specific terms that were communicated by Time Warner to Plaintiff or her fiduciaries, either
directly or through public statements. Indeed, elsewhere in the complaint, Plaintiff alleges that
“as Fiduciaries, the Lius or Mo did not fulfill or discharge their fiduciary duty to diligently
follow through with Time Warner, to work out the specifics of the oral contract or agreement
with Time Warner to secure Sang Lan’s future.” 4th Am. Compl. § 168. Thus, Plaintiffs
allegations lack the necessary specificity as to the form, frequency, and amount of payment and
are too indefinite to create an enforceable contract. See Yedvarb v. Yedvarb, 655 N.Y.S.2d 84,
85 (App. Div. 1997) (“[T]he alleged promise by the defendant to ‘always take care of’ the
plaintiff, which contained no specifics as to the form, frequency, and amount of payment, was
too vague to spell out a meaningful promise.”); Sud v. Sud, 621 N.Y.S.2d 37, 38 (App. Div.
1995) (finding contract claim “too vague and indefinite, and therefore unenforceable, for
plaintiff's failure to allege, in nonconclusory language, as required, the essential terms of the
parties’ purported contract, including . . . the amount of financial support which defendant . . .
[was] required to provide or the length of time during which that support had to be provided.’’”);
Inre Estate of Kittay, 500 N.Y.S.2d 6, 6 (App. Div. 1986) (holding that an oral promise to “take
care of’ and “support” the petitioner for the rest of her life was too vague to be enforceable).
Nor has Plaintiff pleaded sufficient facts to supply the terms of an implied-in-fact contract. See
Fink v. Time Warner Cable, 810 F. Supp. 2d 633, 645 (S.D.N.Y. 2011) (holding that, because
communications identified by plaintiffs did not contain “sufficient specific, concrete, factual
representations such that they could be interpreted to supply the terms of an implied contract,
[p]laintiffs have failed to state a cause of action’’).

Moreover, as discussed below, this claim is barred under the statute of limitations. Time

4

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 5 of 18

Warner’s motion to dismiss the breach of contract claim is GRANTED.
B. Promissory Estoppel

The Court agrees with Judge Francis that Plaintiff has failed to state a claim for
promissory estoppel. R&R 13-14, ECF 140. “In New York, promissory estoppel has three
elements: a clear and unambiguous promise; a reasonable and foreseeable reliance by the party to
whom the promise is made, and an injury sustained by the party asserting the estoppel by reason
of the reliance.” Cyberchron Corp. v. Calldata Sys. Dev., Inc., 47 F.3d 39, 44 (2d Cir. 1995)
(citations and internal quotation marks omitted). As with her contract claim, Plaintiff has not
pleaded a clear and unambiguous promise and has, therefore, failed to state a cognizable claim.

Moreover, this claim is barred under the statute of limitations. Time Warner’s motion to
dismiss the promissory estoppel claim is GRANTED.

C. Undertaking and Reliance

The Court agrees with Judge Francis that Plaintiff has failed to state a claim for
“undertaking and reliance.” R&R 14-16, ECF 140. “One who assumes to act, even though
gratuitously, may thereby become subject to the duty of acting carefully if he acts at all.”
Suthers v. Amgen Inc., 441 F. Supp. 2d 478, 489 (S.D.N.Y. 2006) (quoting H.R. Moch Co. v.
Rensselaer Water Co., 247 N.Y. 160 (N.Y. 1928) (Cardozo, J.)). “To establish a cause of action
for violation of an assumed duty, the plaintiff must show (1) that the plaintiff reasonably relied
on the defendant's assumption of a duty and (2) that the defendant's conduct “placed [the]
plaintiff in a more vulnerable position than [the] plaintiff would have been in had [the] defendant
done nothing.” Wendy Hong Wu v. Dunkin' Donuts, Inc., 105 F. Supp. 2d 83, 94 (E.D.N.Y.
2000) (citation and internal quotation marks omitted), aff'd sub nom. Wu v. Dunkin' Donuts,

Inc., 4 F. App'x 82 (2d Cir. 2001). According to Plaintiff, Time Warner assumed a duty by

5

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 6 of 18

publicly promising to provide financial support to “secure Plaintiffs future.” 4th Am. Compl. 49
256-60. Plaintiff alleges that she relied on this assumed duty and was damaged by that reliance.
Id. at J{ 261-62.

Plaintiffs allegations cannot satisfy either element necessary to establish a violation of an
assumed duty. First, Plaintiff has not pleaded facts that could establish her reliance on Time
Warner’s conduct was reasonable. See id. at J 256-64. Plaintiff has alleged no contact between
Time Warner representatives and either Plaintiff or her fiduciaries, and Plaintiff admits that her
fiduciaries failed to negotiate the details of any alleged agreement for her care. 4th Am. Compl.
{| 168, 236. Reliance based solely on vague and indefinite statements made through the media
is not reasonable. Heard v. City of New York, 82 N.Y.2d 66, 67 (N.Y. 1993). (“Defendant must
have imparted the information under circumstances and in such a way that it would be
reasonable to believe plaintiff will rely upon it; plaintiff must rely upon it in the reasonable belief
that such reliance is warranted.”) Moreover, Time Warner began withdrawing its alleged
support to Plaintiff no later than June 3, 1999, and any reliance beyond that point is not
reasonable. See Bill Egbert, Injured Gymnast: Turner Reneged, N.Y. DAILY NEWS, June 3,
2011, 4th Am. Compl. Ex. J, ECF No. 119-2 (hereinafter, “N.Y. Daily News Article”).

Second, the complaint does not articulate how Time Warner placed Plaintiff in a more
vulnerable position than if it had done nothing. By providing for Plaintiffs care and medical
assistance, Time Warner did not diminish Plaintiff's legal right to file suit. Because Time
Warner began to withdraw its alleged support by June 3, 1999, at the latest, and because Plaintiff
ceased being a minor on June 11, 1999, it could not be said that Time Warner’s alleged support
prevented Plaintiff from filing a timely cause of action. 4th Am. Compl. § 12; N.Y. Daily News

Article; see also N.Y. C.P.L.R. § 105() (stating that person who has not attained age of 18 is

6

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 7 of 18

“infant”’); N.Y. C.P.L.R. § 208 (tolling statutes of limitations until a plaintiff is no longer an
infant).

Accordingly, Plaintiff has not stated a cause of action for violation of an assumed duty.
Moreover, this claim is barred under the statute of limitations. Time Warner’s motion to dismiss
the undertaking and reliance claim is GRANTED.

D. Statute of Limitations

The Court agrees with Judge Francis’ conclusion and analysis regarding the statute of
limitations as it applies to the claims against Time Warner. R&R 17-19, ECF No. 140. The last
date that Plaintiff's contract and quasi-contract claims were timely was in June 2005, six years
after her eighteenth birthday, at which time Plaintiff had knowledge that Time Warner had
reneged on any alleged commitment to support her. 4th Am. Compl. 7 12; N.Y. Daily News
Article; see also Abdrabo vy. State of N.Y.-Worker Comp. Bd., 03 Civ. 7690 (DLC), 2005 WL
1278539 (S.D.N.Y. May 27, 2005) (six year statute of limitations for contract and quasi-contract
claims); N.Y. C.P.L.R. §§ 105), 208, 213(2). The last date that Plaintiff's tort claim for
undertaking and reliance was timely was in June 2002, three years after her eighteenth birthday.
Mancuso v. Kaleida Health, 100 A.D.3d 1468, 1469 (4th Dep’t 2012); N.Y. C.P.L.R. § 214. The
Court has considered Plaintiff’s remaining arguments and finds them to be without merit.

Ill. Claims Against the Individual Defendants

Plaintiff objects to Judge Francis’ conclusions with respect to Counts 5, 6, 7, 8, 9, 10, and
12. The Court addresses each in turn.
A. Accounting of Other Properties (Count Five)
“The equitable remedy of an action for an accounting is available in favor of a principal

when, and only when, the nature of the agency transactions to be accounted for involve fiduciary

7

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 8 of 18

features, in addition to the existence of the bare relationship of principal and agent.” See 3 Am.
Jur. 2d Agency § 303 (2014) (citations omitted). “The fiduciary relationship necessary to obtain
an accounting is created by the plaintiff entrusting to the defendant some money or property with
respect to which the defendant is bound to reveal his dealings.” Stevens v. St. Joseph's Hosp., 52
A.D.2d 722, 723 (N.Y. App. Div. 1976) (citations omitted). The fiduciary relationship necessary
to obtain an accounting is created by the plaintiff entrusting to the defendant some money or
property with respect to which the defendant is bound to reveal his dealings.” Bouley v. Bouley,
19 A.D.3d 1049, 1051 (N.Y. App. Div. 2005) (citations omitted). Here, the operative complaint
states that “[f]rom 1998 through April 2011, the Lius held themselves out and acted as exclusive
agents for Plaintiff.” 4th Am. Compl. 9 270. Plaintiff further alleges that the Lius “controlled all
aspects of Plaintiff's affairs, matters, money, insurance claims, benefits, medical supplies and
equipment.” Jd. Plaintiff also describes the Lius as her “guardians” and “handlers” and alleges
that they “carried with them the fiduciary duty and responsibility to take care of [Plaintiffs]
affairs with care, diligence and the upmost loyalty, fidelity, and integrity.” Jd. at [J 102, 145-65.
Finally, Plaintiff has alleged that she is owed an accounting, which the Lius have refused to
provide. Jd. at J] 271-74. Plaintiff has sufficiently pleaded the existence of a fiduciary
relationship with respect to the “other property” entrusted to the Lius. Although Plaintiff
returned to China in 1999 and received medical care there, R&R 25, the Court cannot determine
from the pleadings whether the alleged fiduciary relationship as to Plaintiff's property, medical
supplies, and insurance money ended at that time, rather than in 2011 as Plaintiff alleges, R&R
29.

Plaintiff has alleged sufficient facts for her accounting claim regarding the “other

property” to survive a motion to dismiss. At a future stage of this litigation, the Individual

8

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 9 of 18

Defendants may be able to show that Plaintiffs claim is time-barred, as facts about the Liu’s
duties to Plaintiff replace the pleaded allegations. The Individual Defendants’ motion to dismiss
this claim is DENIED.

B. Unjust Enrichment (Count Six)

There are three elements to a claim of unjust enrichment under New York law: “(1)
defendant was enriched, (2) at plaintiff's expense, and (3) equity and good conscience militate
against permitting defendant to retain what plaintiff is seeking to recover.” Coach, Inc. v.
Horizon Trading USA Inc., 908 F. Supp. 2d 426, 436 (S.D.N.Y. 2012) (internal quotation marks
omitted). “[C]auses of action to recover damages for unjust enrichment .. . start[] to run upon
the occurrence of the wrongful act giving rise to a duty of restitution.” Congregation Yetev Lev
D'Satmar, Inc. y. 26 Adar N.B. Corp., 192 A.D.2d 501, 502 (N.Y. App. Div. 1993). “[T]he
limitations period for claims arising out of a fiduciary relationship does not commence until the
fiduciary has openly repudiated his or her obligation or the relationship has been otherwise
terminated.” Golden Pacific Bancorp v. F.D.I.C., 273 F.3d 509, 518 (2d Cir. 2001) (applying
fiduciary accrual rule to unjust enrichment claim where plaintiff and defendant had fiduciary
relationship). With respect to Plaintiffs unjust enrichment claim as it relates to the Fund,
Plaintiff has adequately alleged that the Lius owed her fiduciary duties through July 2008 when
the Lius delivered the alleged balance and repudiated the fiduciary relationship. 4th Am. Compl.
44 102, 145-65, 277-78. This claim for monetary relief is sufficiently pleaded and not barred
under the statute of limitations. See Grynberg v. Eni S.p.A., 06 Civ. 6495 (RLC), 2007 WL
2584727, at *3 (S.D.N.Y. Sept. 5, 2007) (“New York courts have held that [unjust enrichment]
claims are governed by either a three-year statute of limitations when monetary relief is sought

or a six-year statute of limitations when equitable relief is sought.””). With respect to Plaintiff's

9

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 10 of 18

unjust enrichment claim as it relates to the other property, Plaintiff, as noted above, has
sufficiently pleaded the existence of a fiduciary relationship that continued through April 2011.
See 4th Am. Compl. J 102, 145-65, 278. Plaintiff also alleges that she has been denied
possession of this property and that the Lius benefited as a result. Jd. at J 279-81.

Plaintiff has stated a cause of action for unjust enrichment with respect to both the Fund
and the other property. Again, the Individual Defendants may be able to show that Plaintiff's
claim as it relates to this property is time-barred during a future stage of this litigation. The
Individual Defendants’ motion to dismiss this claim is DENIED.

C. Conversion (Count Seven)

Plaintiff only challenges Judge Francis’ recommendation as it relates to the claim of
conversion of insurance proceeds. Pl. Resp. 29, ECF No. 146; R&R at 34. Under New York
law, “[c]onversion is an unauthorized assumption and exercise of ownership rights over the
property of another in defiance of the owner's rights.” Peters Griffin Woodward, Inc. v. WCSC,
Inc., 88 A.D.2d 883 (N.Y. App. Div. 1982). “Money can be the subject of such a claim, but
must be specifically identifiable and segregated.” Cadogan Mgmt., LLC v. Wright, 38 Misc. 3d
1231(A), at *7 (N.Y. Sup. Ct. 2011). Judge Francis correctly noted that the complaint fails to
identify any specific insurance policies and fails to name any fund or trust into which such
proceeds were deposited. R&R at 34 (citing Massive Paper Mills v. Two-Ten Corp., 669 F.
Supp. 94, 96 (S.D.N.Y. 1987)); see also 4th Am. Compl. 49 270-71. Plaintiffs objection that
she only seeks insurance proceeds to the extent they were deposited into the Fund is misguided.
Pl. Resp. 29, ECF No. 146. The R&R indicates, and this Court agrees, that the Plaintiff has
properly alleged a cause of action for conversion with respect to the contents of the Fund. R&R

at 33-34. Thus, to the extent insurance proceeds were deposited in the Fund, those proceeds are

10

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 11 of 18

already recoverable. To the extent Plaintiff alleges conversion of any additional insurance
proceeds, the complaint lacks the required specificity. The Individual Defendants’ motion to
dismiss this claim is GRANTED only as to insurance proceeds not deposited to the Fund.

D. Breach of Fiduciary Duty Against the Lius (Count Eight)

“Under New York law, the elements of a cause of action for breach of fiduciary duty are:
‘(i) the existence of a fiduciary duty; (ii) a knowing breach of that duty; and (iii) damages
resulting therefrom.’” N. Shipping Funds [, LLC v. Icon Capital Corp., 921 F. Supp. 2d 94, 101
(S.D.N.Y. 2013) (quoting Johnson v. Nextel Communications, Inc., 660 F.3d 131, 138 (2d Cir.
2011)). “A fiduciary relationship exists between two persons when one of them is under a duty
to act for or to give advice for the benefit of another upon matters within the scope of the
relation.” N. Shipping Funds I, LLC v. Icon Capital Corp., 921 F. Supp. 2d 94, 101 (S.D.N.Y.
2013) (citations and internal quotation marks omitted). “[T]he proponent of a claim for a breach
of fiduciary duty must, at a minimum, establish that the offending parties' actions were ‘a
substantial factor’ in causing an identifiable loss.” Gibbs v. Breed, Abbott & Morgan, 271
A.D.2d 180, 189 (N.Y. App. Div. 2000) (citation omitted).

Plaintiff claims that the Lius owed her a duty because they allegedly “controlled all
aspects of Plaintiff's affairs, money, medications and medical supplies and communications with
her doctors, insurance company and other vital support organizations.” 4th Am. Compl. 7 301.
As Judge Francis has recognized, Plaintiff asserts five breaches of fiduciary duty against the
Lius:

(1) failure to keep accurate account of the Fund;

(2) failure to follow through with financial plans with Time Warner;

(3) failure to account for profit related to the alleged invasion of privacy;
(4) failure to register the Fund; and

(5) misappropriating the Fund.

11

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 12 of 18

R&R 38, ECF 140. With respect to the losses allegedly suffered as a result, Plaintiff states that
she “suffered economic damages and the Lius gained the advantage of earning and did earn
substantial compensation and fame.” 4th Am. Compl. § 305.

Contrary to Judge Francis’ recommendation, dismissal of the first and fifth claims of
breach is not warranted. As discussed in connection with Plaintiff's accounting claim above, the
Court is satisfied that Plaintiff has alleged the Lius owed her a fiduciary duty as to the Fund.
Additionally, it is clear from the pleadings that the alleged breaches (failure to account for the
Fund and misappropriation of Fund assets) would cause economic injury to Plaintiff as the sole
beneficiary of the Fund. Nor should these claims be dismissed as duplicative. Under New York
law, claims for breach of fiduciary duty may be dismissed as duplicative, but only where
identical claims and relief are sought under a theory of malpractice, see Weil, Gotshal & Manges,
LLP y. Fashion Boutique of Short Hills, Inc., 10 A.D.3d 267, 271 (N.Y. App. Div. 2004) (“a
claim, premised on the same facts and seeking the identical relief sought in the legal malpractice
cause of action, is redundant and should be dismissed”), or breach of contract. See Ellington
Credit Fund, Ltd. v. Select Portfolio Servicing, Inc., 837 F. Supp. 2d 162, 195 (S.D.N.Y. 2011)
(“A cause of action for breach of fiduciary duty which is merely duplicative of a breach of
contract claim cannot stand.”) (citations and internal quotation marks omitted). Given that the
accounting and misappropriation claims here sound in equity, rather than in malpractice or
contract, R&R 27-28, they should not be dismissed as redundant. Cf Soley v. Wasserman, 823
F, Supp. 2d 221, 237 (S.D.N.Y. 2011) (holding that actions for equitable accounting and breach
of fiduciary duty both survive motion to dismiss).

The Court agrees with Judge Francis that the third alleged breach (relating to gains

12

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 13 of 18

stemming from an alleged invasion of privacy) must be dismissed. The pleadings allege only in
the most conclusory manner that the Lius owe Plaintiff a fiduciary responsibilities in connection
with her name, portrait, picture, or voice. 4" Am. Compl. 4 181, 302. Any such duty is
insufficiently pleaded under Twombly and Igbal, and the Court will not impute one here. See
EBC I, Inc. v. Goldman, Sachs & Co., 5 N.Y.3d 11, 20 (N.Y. 2005) (“If the parties ... do not
create their own relationship of higher trust, courts should not ordinarily transport them to the
higher realm of relationship and fashion the stricter duty for them”). The Court also agrees with
Judge Francis that the second and fourth alleged breaches must be dismissed. Plaintiff has not
sufficiently alleged the existence of any duty requiring the Lius to “work out the specifics” of
Time Warner’s alleged agreement to secure Plaintiff's future. 4th Am. Compl. ] 168. As
discussed above, there was no contract or enforceable promise between Time Warner and
Plaintiff, and, in the absence of any such agreement, the Individual Defendants were under no
duty to “follow through.” See id. Likewise, Plaintiffs fourth allegation, based on the Lius
alleged failure to register the Fund with the New York State Attorney General and the IRS, is
insufficiently pleaded. Plaintiff has not alleged facts showing how the failure to register with the
appropriate government agencies was a substantial factor in causing any identifiable loss. Gibbs,
271 A.D.2d at 188-89.

The Individual Defendants’ motion to dismiss this claim is GRANTED only as to the
allegations that the Lius (2) failed to follow through with financial plans with Time Warner, (3)
failed to account for profits related to the alleged invasion of privacy, and (4) failed to register
the Fund. As to the allegations that the Lius (1) failed to account for the Fund and (5)

misappropriated of Fund assets, the Individual Defendants’ motion to dismiss is DENIED.

13

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 14 of 18

E. Breach of Fiduciary Duty Against Mo (Count Nine)

The Court agrees with Judge Francis that Plaintiff has failed to state a claim for breach
of fiduciary duty by Mo. The threshold question is whether Mo and Plaintiff had an attorney-
client relationship giving rise to a fiduciary duty. The Court agrees with Judge Francis that, in
light of the allegations that Mo advised Plaintiff and held himself out as her attorney both in
public and with legal and medical professionals, 4th Am. Compl. ff 105-110, Plaintiff has
sufficiently alleged the existence of such a relationship. R&R 44-45; see First Hawaiian Bank v.
Russel & Volkening, Inc., 861 F. Supp. 233, 238 (S.D.N.Y. 1994) (identifying relevant factors,
including “whether the attorney excluded the individual from some aspect of a litigation” and
“whether the purported client believes that the attorney was representing him and whether this
belief is reasonable”); C.K. Indus. Corp. v. C.M. Indus. Corp., 213 A.D.2d 846, 848 (3d Dep’t
1995) (looking to whether attorney, “either affirmatively or impliedly, led [the plaintiff] to
believe that [the attorney] was acting on [the plaintiffs] behalf’).

In the context of an action asserting breaches of fiduciary duty by an attorney, the claim
is governed by the same standards of recovery as a claim of malpractice. Ulico Cas. Co. v.
Wilson, Elser, Moskowitz, Edelman & Dicker, 56 A.D.3d 1, 10 (N.Y. App. Div. 2008). Under
New York law, “[rJecovery for professional malpractice against an attorney requires proof of
three elements: (1) the negligence of the attorney; (2) that the negligence was the proximate
cause of the loss sustained; and (3) proof of actual damages.” Jd. at 10 (citation and internal
quotation marks omitted); see also Kranis v. Scott, 178 F. Supp. 2d 330, 334 (E.D.N.Y. 2002)
(citations omitted). “To satisfy the element of proximate causation, a plaintiff must preliminarily
plead and ultimately prove that ‘but for’ the attorney's malpractice, the client would have

achieved a different result in the underlying transaction or would not have sustained any

14

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 15 of 18

ascertainable damages.” Mercantile Capital Partners Fund, LP v. Morrison Cohen LLP, 19
Misc. 3d 1121(A), at *4 (N.Y. Sup. Ct. 2008) (citing Hand v. Silberman, 15 AD3d 167 (N.Y.
App. Div. 2005). Plaintiff has identified several alleged failings by Mo, 4th Am. Compl. § 311,
but does not allege any causal relationship between this conduct and the conclusory assertion that
Plaintiff “suffered economic loss.” Jd. at 7 312.

Plaintiff has not stated a valid cause of action for breach of fiduciary duty against Mo.
The Individual Defendants’ motion to dismiss this claim is GRANTED.

F. Defamation (Count Ten)

Plaintiff objects to Judge Francis’ conclusion that an alleged statement by the Lius
(accusing Plaintiff of seeking asylum in the United States) does not constitute defamation. PI.
Resp. 35-36; see 4th Am. Compl. § 185(c). Plaintiff does not object to the recommended
dismissal of the fourth statement.

“To state a claim for defamation under New York law, the plaintiff must allege (1) a false
statement about the plaintiff; (2) published to a third party without authorization or privilege; (3)
through fault amounting to at least negligence on [the] part of the publisher; (4) that either
constitutes defamation per se or caused special damages.” Thai v. Cayre Group, Ltd., 726 F.
Supp. 2d 323, 329 (S.D.N.Y. 2010) (citation and internal quotation marks omitted).
“Determining whether a statement is defamatory per se is a question of law for the Court.” Stern
v. Cosby, 645 F. Supp. 2d 258, 288 (S.D.N.Y. 2009). The four categories of statements that
constitute defamation per se are statements: “(i) charging plaintiff with a serious crime; (ii) that
tend to injure another in his or her trade, business or profession; (i1i) that plaintiff has a
loathsome disease; or (iv) imputing unchastity to a woman.” Epifani v. Johnson, 65 A.D.3d 224,

234 (N.Y. App. Div. 2009) (citation omitted). In addition, “statements that tend[] to expose a

15

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 16 of 18

person to hatred, contempt or aversion, or to induce an evil or unsavory opinion of him in the
minds of a substantial number in the community are libelous per se.” Roth v. United Fed'n of
Teachers, 5 Misc. 3d 888, 893 (Sup. Ct. 2004) (citation and internal quotation marks omitted)
(alteration in original); see also Celle v. Filipino Reporter Enters. Inc., 209 F.3d 163, 177 (2d
Cir. 2000) (“Challenged statements are not to be read in isolation, but must be perused as the
average reader would against the ‘whole apparent scope and intent’ of the writing.”) (citations
omitted). To allege ‘special damages,’ an economic injury “must be fully and accurately
identified, with sufficient particularity to identify actual losses.” Thai, 726 F. Supp. 2d at 330
(citation omitted). “[T]he individuals ‘who ceased to be customers, or who refused to purchase,
must be named’ and the exact damages itemized.” Fashion Boutique of Short Hills, Inc. v. Fendi
USA, Inc., 314 F.3d 48, 59 (2d Cir. 2002) (quoting Drug Research Corp. v. Curtis Publ'g Co., 7
N.Y.2d 435, 441-42 (N.Y.1960)).

Plaintiff argues that the statement that Plaintiff sought asylum, when understood in
context, is defamatory and portrays her as a “traitor,” stating “the closest analogy would be to
falsely accuse Jane Fonda or a well-known U.S. senator having sought and applied for asylum in
Vietnam during the 1960s.” Pl. Resp. at 35. The alleged assertion does not fall into the four
recognized exceptions constituting defamation per se. Furthermore, the Court cannot conclude,
as a matter of law, that the average person hearing or reading the alleged communication would
interpret the statement in this manner or form an aversion or unsavory opinion as a result of
reading it. See Roth, 5 Misc. 3d at 893. With respect to ‘special damages,’ the operative
complaint contains only the conclusory allegation that Plaintiff “has suffered, continues to suffer,
and will continue to suffer loss of income.” 4th Am. Compl. J 318. Plaintiff has failed to

identify specific opportunities or income sources that were withdrawn or otherwise negatively

16

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 17 of 18

impacted as a result of the alleged statement and, therefore, has not pleaded special damages.

As recommended by Judge Francis, the Individual Defendants’ motion to dismiss the
defamation claims is GRANTED only with respect to the statements set forth in the Fourth
Amended Complaint, { 185(c) & (d).

G. Cyberharassment (Count Twelve)

The Court agrees with Judge Francis that Plaintiff has failed to state a claim for
“cyberharassment” against the Lius or the unidentified “Doe” defendants. R&R 55-59.

Under New York law, “[a] person is guilty of aggravated harassment in the second
degree when, with intent to harass, annoy, threaten or alarm another person, he or she . . . causes
a communication to be initiated by mechanical or electronic means or otherwise with a person,
anonymously or otherwise... in a manner likely to cause annoyance or alarm.” N.Y. Penal
Law § 240.30. This statute has been held to pertain to messages sent to individuals over the
Internet. See Smith v. Smith, 24 A.D.3d 822, 823 (N.Y. App. Div. 2005); People v. Munn, 179
Misc. 2d 903, 905 (Crim. Ct. 1999). Additionally, as Judge Francis noted, this statute implicates
important First Amendment considerations and must be construed accordingly. See, e.g., People
v. Smith, 89 Misc.2d 789, 792 (N.Y. App. Div. 1977); People v. Bethea, 1 Misc. 3d 909(A)
(Bronx Crim. Ct. 2004) (“[I]t is simply not a crime merely to speak or write bad things about
another person.”). Finally, there is a split of authority as to whether New York recognizes a
private cause of action for damages under this statute. Compare, e.g., Blasetti v. Pietropolo, 213
F. Supp. 2d 425, 428 & n.6 (S.D.N.Y. 2002) (recognizing a private right of action) with Manko v.
Volynsky, No. 95 Civ. 2585, 1996 WL 243238, at *2 (S.D.N.Y. May 10, 1996) (no private right
of action) and Ralin v. City of New York, 44 A.D.3d 838, 839 (2d Dep’t 2007) (no cause of action

for damages).

17

Case 1:11-cv-02870-AT-JCF Document 149 Filed 02/25/14 Page 18 of 18

As recounted by Judge Francis, most of Plaintiff's cyberharassment allegations are
conclusory paraphrasings of the statutory language. R&R 58, ECF No. 140. Moreover, by
grouping the Lius and the numerous unidentified “Doe” defendants, Plaintiff fails to identify the
perpetrators of the alleged threats and harassing remarks. See 4th Am. Compl. § 326. Plaintiff
has failed to allege the necessary elements of a harassment claim under the statute as to any of
the defendants. See Biro v. Conde Nast, 883 F. Supp. 2d 441, 456 (S.D.N.Y. 2012) (“While the
federal rules do not require the particularized pleading requirements set forth in New York's
C.P.L.R. section 3016, Rule 8 [of the Federal Rules of Civil Procedure] still requires that each
pleading be specific enough to afford defendant sufficient notice of the communications
complained of to enable him to defend himself.”) (citation omitted),

Given Plaintiffs failure to state a claim, the Court need not address whether a private
right of action exists under the statute. The Individual Defendants’ motion to dismiss this claim
is GRANTED.

CONCLUSION

For the reasons stated above, the Individual Defendants’ motion to dismiss is DENIED as
to Counts Five and Six. The Individual Defendants’ motion to dismiss Count Eight is DENIED
only as to the allegations that the Lius (1) failed to account for the Fund and (5) misappropriated
of Fund assets. In all other respects, Judge Francis’ R&R is AFFIRMED.

SO ORDERED.

Dated: February 25, 2014
New York, New York

On-

ANALISA TORRES
United States District Judge

18

